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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     UNITED STATES OF AMERICA,                          Case No.: 17-CV-515-AJB-WVG
12                                       Plaintiff,       SCHEDULING ORDER
       v.                                                 REGULATING DISCOVERY
13
                                                          AND OTHER PRE-TRIAL
14     RAJMP, INC., et al.,                               PROCEEDINGS
15                                    Defendants.
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18          Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
19    held on June 6, 2019. After consulting with the attorneys of record for the parties and being
20    advised of the status of the case, and good cause appearing, IT IS HEREBY ORDERED:
21          1.     The parties must disclose the identity of their respective experts in writing
22    by May 8, 2020. The date for the disclosure of the identity of rebuttal experts must be on
23    or before May 22, 2020. The written designations must include the name, address and
24    telephone number of the expert and a reasonable summary of the testimony the expert is
25    expected to provide. The list must also include the normal rates the expert charges for
26    deposition and trial testimony. The parties must identify any person who may be used
27    at trial to present evidence pursuant to Fed. R. Evid. 702, 703 and 705, respectively.
28    This requirement is not limited to retained experts.

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 1          2.     On or before June 19, 2020, each party must comply with the disclosure
 2    provisions in Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure. This disclosure
 3    requirement applies to all persons retained or specifically employed to provide
 4    expert testimony or whose duties as an employee of the part regularly involve the
 5    giving of expert testimony.
 6          3.     Any party shall supplement its disclosure regarding contradictory or rebuttal
 7    evidence under Fed. R. Civ. P. 26(a)(2)(c) by July 17, 2020.
 8          4.     Please be advised that failure to comply with this section or any other
 9    discovery order of the court may result in the sanctions provided for in Fed. R. Civ.
10    P. 37 including a prohibition on the introduction of experts or other designated
11    matters in evidence.
12          5.     All fact discovery must be completed by all parties on or before April 10,
13    2020. All expert discovery must be completed by all parties on or before August 14,
14    2020. "Completed" means that all discovery under Rules 30-36 of the Federal Rules of
15    Civil Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient
16    period of time in advance of the cut-off date, so that it may be completed by the cut-off
17    date, taking into account the times for service, notice and response as set forth in the
18    Federal Rules of Civil Procedure. Counsel must promptly and in good faith meet and
19    confer with regard to all discovery disputes in compliance with Local Rule 26.1.a. All
20    discovery motions must be filed within 30 days of the service of an objection, answer or
21    response which becomes the subject of dispute or the passage of a discovery due date
22    without response or production, and only after counsel have met and conferred and have
23    reached impasse with regard to the particular issue. A failure to comply in this regard
24    will result in a waiver of a party’s discovery issue. Absent an order of the court, no
25    stipulation continuing or altering this requirement will be recognized by the court.
26          6.     A Mandatory Settlement Conference will be conducted on June 5, 2020 at
27    9:00 A.M. in the chambers of Magistrate Judge William V. Gallo. Counsel or any
28    party representing himself or herself must submit confidential settlement briefs directly

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 1    to the magistrate judge’s chambers by May 29, 2020. All parties are ordered to read and
 2    to fully comply with the Chamber Rules of the assigned magistrate judge.
 3            7.    All other dispositive motions, including those addressing Daubert issues,
 4    must be filed on or before September 18, 2020. Please be advised that counsel for the
 5    moving party must obtain a motion hearing date from the law clerk of the judge who will
 6    hear the motion. Motions in Limine are to be filed as directed in the Local Rules, or as
 7    otherwise set by Judge Battaglia.
 8            8.    Counsel must comply with the pre-trial disclosure requirements of Fed. R.
 9    Civ. P. 26(a)(3) on or before November 6, 2020.
10            9.    This order replaces the requirements under Civ. L. R. 16.1.f.6.c. No
11    Memoranda of Law or Contentions of Fact are to be filed.
12            10.   The parties must meet and confer on or before November 13, 2020 and
13    prepare a proposed pretrial order in the form as set forth in Civ. L. R. 16.1.f.6.
14            The Court encourages the parties to consult with the assigned magistrate judge to
15    work out any problems in preparation of the proposed pretrial order. The court will
16    entertain any questions concerning the conduct of the trial at the pretrial conference.
17            11.   Objections to Pre-trial disclosures must be filed no later than November 20,
18    2020.
19            12.   The Proposed Final Pretrial Conference Order as described above must be
20    prepared, served and lodged with the assigned district judge on or before November 27,
21    2020.
22            13.   The final Pretrial Conference is scheduled on the calendar of the Honorable
23    Anthony J. Battaglia on December 10, 2020 at 1:30pm.
24            14.   A post trial settlement conference before a magistrate judge may be held
25    within 30 days of verdict in the case.
26            15.   The dates and times set forth herein will not be modified except for good
27    cause shown.
28            16.   Dates and times for hearings on motions must be approved by the Court's

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 1    clerk before notice of hearing is served.
 2          17.    Briefs or memoranda in support of or in opposition to any pending motion
 3    must not exceed twenty-five (25) pages in length without leave of a district judge. No
 4    reply memorandum will exceed ten (10) pages without leave of a district judge. Briefs
 5    and memoranda exceeding ten (10) pages in length must have a table of contents and a
 6    table of authorities cited.
 7          IT IS SO ORDERED.
 8    DATED: November 6, 2019
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